           Case 1:13-vv-00742-UNJ Document 36 Filed 03/20/15 Page 1 of 7



            IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                      OFFICE OF SPECIAL MASTERS
                                             No. 13-0742V
                                       Filed: February 27, 2015
                                         (not to be published)

*************************
JOHN AIANI,                             *
                                        *
                   Petitioner,          *      Stipulation; Flu; Polyarthritis
        v.                              *
                                        *
SECRETARY OF HEALTH                     *
AND HUMAN SERVICES,                     *
                                        *
                   Respondent.          *
****************************
Donald Philip Edwards, Law Office of Donald P. Edwards, Atlanta, Georgia, for
petitioner.
Linda Renzi, U.S. Dep’t. of Justice, Washington, DC for respondent.

                               DECISION ON JOINT STIPULATION 1

Gowen, Special Master:

       On September 26, 2013, John Aiani (“petitioner”) filed a petition pursuant to the
National Vaccine Injury Compensation Program. 2 42 U.S.C. §§ 300aa-1 to -34 (2006).
Petitioner alleged that as a result of receiving an influenza (“flu”) vaccine on September
28, 2010, he suffered from inflammatory polyarthritis. Stipulation ¶ 2, 4, filed Feb. 27,
2015. Further, petitioner alleged that he experienced residual effects of this injury for
more than six months. Id. at ¶ 4.

       On February 27, 2015, the parties filed a stipulation in which they state that a
decision should be entered awarding compensation. Respondent denies that the flu
vaccine caused petitioner’s inflammatory polyarthritis, or any other injury, and denies that

1 Because this decision contains a reasoned explanation for the undersigned’s action in this case, the
undersigned intends to post this ruling on the website of the United States Court of Federal Claims, in
accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified
as amended at 44 U.S.C. § 3501 note (2006)). As provided by Vaccine Rule 18(b), each party has 14 days
within which to request redaction “of any information furnished by that party: (1) that is a trade secret or
commercial or financial in substance and is privileged or confidential; or (2) that includes medical files or
similar files, the disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine
Rule 18(b).

2 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood Vaccine
Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C. §§ 300aa-1 to -34
(2006) (Vaccine Act or the Act). All citations in this decision to individual sections of the Vaccine Act are to
42 U.S.C.A. § 300aa.
          Case 1:13-vv-00742-UNJ Document 36 Filed 03/20/15 Page 2 of 7



his current disabilities are sequelae of a vaccine-related injury. Id. at ¶ 6. Nevertheless,
the parties agree to the joint stipulation, attached hereto. The undersigned finds the
stipulation reasonable and adopts it as the decision of the Court in awarding damages,
on the terms set forth therein.

       The parties stipulate that petitioner shall receive the following compensation:

           (a) A lump sum of $75,000.00 in the form of a check payable to
               petitioner, John Aiani. This amount represents compensation for all
               damages that would be available under § 300aa-15(a).

      The undersigned approves the requested amount for petitioner’s compensation.
Accordingly, the clerk of the court SHALL ENTER JUDGMENT in accordance with the
terms of the parties’ stipulation. 3

       IT IS SO ORDERED.

                                               s/ Thomas L. Gowen
                                               Thomas L. Gowen
                                               Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of notice
renouncing the right to seek review.
Case 1:13-vv-00742-UNJ Document 36 Filed 03/20/15 Page 3 of 7
Case 1:13-vv-00742-UNJ Document 36 Filed 03/20/15 Page 4 of 7
Case 1:13-vv-00742-UNJ Document 36 Filed 03/20/15 Page 5 of 7
Case 1:13-vv-00742-UNJ Document 36 Filed 03/20/15 Page 6 of 7
Case 1:13-vv-00742-UNJ Document 36 Filed 03/20/15 Page 7 of 7
